         Case 5:16-cv-05416-EJD Document 79 Filed 02/07/17 Page 1 of 2
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 1   LEO CUNNINGHAM, State Bar No. 12605
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 2
     DAVID J. BERGER, State Bar No. 147645                                     GRAN
     CHARLES T. GRAVES State Bar No. 197923




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 3   Professional Corporation
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     Email: dberger@wsgr.com; lcunningham@wsgr.com;                        N                                    C
 6   tgraves@wsgr.com                                                          D IS T IC T             OF
                                                                                     R
 7   Attorneys for Defendants                                                         The Clerk shall close
     RO FOR CONGRESS, INC. and                                                        this file.
 8   ROHIT “RO” KHANNA
 9
                                 UNITED STATES DISTRICT COURT
10
                 NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
11

12   MIKE HONDA FOR CONGRESS,                  )               CASE NO.: 5:16-cv-05416-EJD
                                               )
13                Plaintiff,                   )               JOINT STIPULATION OF
                                               )               DISMISSAL WITH PREJUDICE
14        v.                                   )
                                               )               Before: Honorable Edward J. Davila
15   BRIAN PARVIZSHAHI, an individual, RO FOR )
     CONGRESS, INC., a California corporation, )               Complaint Filed: September 22, 2016
16   ROHIT “RO” KHANNA, an individual, and     )
     DOES 1 through 10,                        )
17                                             )
                  Defendants.                  )
18                                             )
19
20          Plaintiff Mike Honda for Congress (“Plaintiff”) and Defendants Brian Parvizshahi, Ro for
21   Congress, Inc., and Rohit “Ro” Khanna (“Defendants”), by and through their respective counsel,
22   hereby stipulate and agree that this action be and hereby is dismissed in its entirety, with
23   prejudice, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each Party shall bear its
24   own fees (including but not limited to attorney’s fees) and costs of suit.
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     STIPULATION OF DISMISSAL                          -1-
        Case 5:16-cv-05416-EJD Document 79 Filed 02/07/17 Page 2 of 2




 1                                                      Respectfully submitted,

 2

 3   Dated: Feb. 3, 2017                                BUSINESS, ENERGY, AND ELECTION
                                                        LAW, PC
 4

 5                                                      By: /s/
                                                                  Gautam Dutta
 6

 7                                                      Attorneys for Plaintiff
                                                        Mike Honda for Congress
 8

 9                                                      WILSON SONSINI GOODRICH & ROSATI
                                                        Professional Corporation
10

11                                                      By: /s/
                                                                  David J. Berger
12                                                                Leo P. Cunningham
                                                                  Charles T. Graves
13

14                                                      Attorneys for Defendants
                                                        Ro for Congress, Inc. and Rohit “Ro” Khanna
15

16                                                      THOMPSON COBURN LLP
17
                                                        By: /s/
18                                                                Renato Mariotti
19
                                                        Attorneys for Defendant
20                                                      Brian Parvizshahi
21

22                         ATTESTATION PURSUANT TO LOCAL RULE 5-1
23
            This certifies, pursuant to Local Rule 5-1, that all signatories to this document concur in its
24
     content and have authorized this filing.
25
     Dated: Feb. 3, 2017
26
27
                                                        /s/ Gautam Dutta
28                                                          Gautam Dutta


     STIPULATION OF DISMISSAL                          -2-
